Case 0:19-cv-61896-KMM Document 11 Entered on FLSD Docket 08/16/2019 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  DISPLAY TECHNOLOGIES, LLC,            §
                                        §
        Plaintiff,                      §                Case No: 0:19-cv-61896-KMM
                                        §
  vs.                                   §                PATENT CASE
                                        §
  INMUSIC, LLC                          §                JURY TRIAL DEMANDED
                                        §
        Defendant.                      §
  _____________________________________ §


                          CERTIFICATE OF INTERESTED PARTIES


             The Plaintiff, DISPLAY TECHNOLOGIES, LLC, a Florida corporation, by and

   through the undersigned counsel, hereby submit its Certificate of Interested Parties. The

   Corporate Disclosure Statement was filed herein on July 29, 2019 (D.E. #6).

     I. INTERESTED PERSONS

             The persons, associated persons, firms, partnerships, or corporations that have a

   financial interest in the outcome of this case, including all subsidiaries, conglomerates,

   affiliates, parent corporations, and other identifiable legal entities related to a party include:

             a.   Kizzia Johnson PLLC

             b.   Patent Asset Management, LLC

             c.   Sand, Sebolt & Wernow Co., LPA
Case 0:19-cv-61896-KMM Document 11 Entered on FLSD Docket 08/16/2019 Page 2 of 2




   Dated: August 16, 2019                     Respectfully submitted,


                                              /s/ Howard L. Wernow
                                              Howard L. Wernow B.C.S.
                                              (Trial Counsel)
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                                              Board Certified in Intellectual Property Law
                                              By the Florida Bar Association

                                 CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on August 16, 2019, all counsel of record who are
  deemed to have consented to electronic service are being served with a copy of this document via
  the Court’s CM/ECF system.


                                              /s/ Howard L. Wernow
                                              Howard L. Wernow B.C.S.
